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                                   United States District Court
                                    DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE


 V.

                                                                           Case Number: CR 21-10-BLG-SPW-l
 JARED WILLIAM EISINGER                                                    USM Number: 37299-509
                                                                           Russell Allen Hart
                                                                           Delendaiu's Attorney



THE DEFENDANT:
      pleaded guilty to count(s)                         1 of the Superseding Information
      pleaded nolo contendere to count(s) which
 □
      was accepted by the court
      was found guilty on count(s) after a plea of
 □
      not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                              Offense Ended   Count
 21:841A=Cd.F Possession With Intent To Distribute Methamphetamine.                               07/27/2020      Is




The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 □    The defendant has been found not guilty on count(s)
 S    The original Indictment is dismissed on the motion of the United States

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are Rilly paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
material changes in economic circumstances.


                                                             November 10.2021
                                                             Date of Imposition of Judgment




                                                             Signature of Judge

                                                             Susan P. Watters
                                                             United States District Judge
                                                             Name and Title of Judge

                                                             November 10,2021
                                                             Date
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